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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

DAWNNA DUKES,                                      §
                                                   §
               Plaintiff,                          §
                                                   §
v.                                                 §
                                                   §                   1:22-CV-413-RP
NEWREZ LLC,                                        §
d/b/a SHELLPOINT MORTGAGE                          §
SERVICING,                                         §
                                                   §
                                                   §
               Defendant.                          §

                                              ORDER

       On March 24, 2023, Defendant NewRez LLC, doing business as Shellpoint Mortgage

Servicing (“Defendant”) filed a motion for summary judgment. (Mot., Dkt. 18). Plaintiff Dawnna

Dukes’s (“Plaintiff”) response to the motion for summary judgment is past due. See W.D. Tex. Loc.

R. CV-7(d).

       “A motion for summary judgment cannot be granted simply because there is no

opposition,” but “a court may grant an unopposed summary judgment motion if the undisputed

facts show that the movant is entitled to judgment as a matter of law.” Day v. Wells Fargo Bank Nat.

Ass'n, 768 F.3d 435, 435 (5th Cir. 2014) (unpublished) (quoting Hibernia Nat. Bank v. Administracion

Cent. S.A., 776 F.2d 1277, 1279 (5th Cir. 1985)). When a party fails to address another’s fact

assertions, the Court may give the party another opportunity to do so. Fed. R. Civ. P. 56(e)(1).
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       Accordingly, IT IS ORDERED that Plaintiff (1) shall show cause in writing on or before

May 4, 2023, as to why the Court should not treat Defendant’s assertions of fact as undisputed, or,

alternatively, (2) Plaintiff shall file a response to Defendant’s motion for summary judgment on or

before May 4, 2023.

          SIGNED on April 21, 2023.

                                              _____________________________________
                                              ROBERT PITMAN
                                              UNITED STATES DISTRICT JUDGE
